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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF IOWA

IN RE:                                  )              CHAPTER 11
                                       )               CASE NO.
BDC GROUP, INC.                        )
                                       )                   23-00484
                                       )
                                       )
          Debtor.                      )               MOTION TO CONTINUE
                                       )


         The Acting United States Trustee (UST), through the undersigned, in conjunction with

Debtor’s counsel, hereby files this Motion to Continue the hearing currently set for June 28, 2024.

See Doc. 249. In support the parties respectfully state:

   1. The case was filed on June 13, 2023. On January 29, 2024 Debtor filed its Motion to

Convert Case to Chapter 7. See Doc. 369.

   2. Prior to conversion, Debtor’s counsel, Ag & Business Legal Strategies (“ABLS”) was

properly employed pursuant to the Consent Order at docket 49.

   3. ABLS made three Applications for Compensation. See Docs. 162, 279, and 468. The UST

objected to each Application, including the Final Application. See Docs. 299, 303, and 480.

   4. A telephonic hearing is currently scheduled for 1:30 on June 28, 2024 on the UST’s

objections to the Applications.

   5. The parties have been working in good faith to reach a resolution to the Applications. A

tentative agreement has been reached, but the parties need additional time to file a Stipulation.

   6. As such, the parties request the hearing set for June 28, 2024 be continued an additional

two weeks to allow parties to finalize stipulations settling the objections.

   WHEREFORE, the undersigned requests that the hearing on June 28, 2024 be rescheduled for

a date no earlier than July 12, 2024 to allow parties to finalize their settlement discussions.
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   Dated: June 27, 2024

                                                   Respectfully Submitted,

                                                   Mary R. Jensen
                                                   Acting United States Trustee

                                                   /s/ Claire R. Davison
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                                  CERTIFICATE OF SERVICE

       The undersigned certifies that copies of this document were served on the parties listed
below by electronic mail or first-class mail, postage prepaid, on June 27, 2024:
    All parties receiving ecf notifications.

                                                      /s/ Claire R Davison
                                                      Claire R. Davison
                                                      Trial Attorney
                                                      Office of U.S. Trustee
